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                                                              t(-rlt\!,q!
                               IN THE nNrrED srATEs i-rsrnrcr counr
                              FOR TIIE SO(ITHERN DISTRTCT OF GEORCTA
                                         AUGUSTA DIVISION                                                                 2015.Jtru
                                                                                                                               -7 pHJ,
                                                                                                                     1,jL
                                                                                                                        [B(
NOEL ARNOLD,                                                                                                                slt t;,si}ff
          D61- i i- ^nor
                                                                       *       a\/      ?1t-na"
                       V.                                              *           lf^rmar]           \'   aP       310-012)

UNITED STATES OF AMERICA,

          Paci\^n.lant




                                                               ORDER


          D-aqanrlv               haforg              the        Court        is     petitioner                     Noel    Arnold's
g6n lhl              Mn-inr--"           oeekinn                  -er-orsirlerat'on                    of           this        Court'S

dismissal              of      his      motion              brought          under        28 U.S.C.                  S 2255.               On

March 25, 2013, this                        Courc adopted Lhe ReporL and Recommendacion

of the United States Magistrate                                            Judge, which had determined that

the S 2255 petirion                         was barred by che colfateral-                                           aLtack waiver

in      Arnol clt s          n- ea      'l.rreement.

          'lnnr        rprri aur ns             fhe         nraqont          m^ii^n
          v   vvrr     !vv                                                                  ArnOld                  haS    failed          tO

show          the           invafidity                 of        the        co].Iateraf                attack              waiver.

Accordingly,                 his present claims,                            no maLLer how chey are couched,

are       barred             from        revrew.                  Moreover,              "Rufe             60 (b)          was      never
r ^i^-^^-t            F^     -^rFi-        n:rf         iaq      r r-1 rclirina-e               the        merits          of     c]aims


or defenses,                  or to raise                   new clalms or defenses that                                    coufd have

lraan     :cearrpd              drrri    nr.r   -LFr ^i e       r+i^-+i^-          ^€     -ha     ,-r<6               prl-har         lL- rl ^l i^j
                                                              J.rLrvaL                                          .     r\qL-rs!,


a-imof RuIe 60 (bl                      f isl      to al.l.owa disLricL                         courL Lo grant                    relief
Case 3:10-cr-00012-DHB-BKE Document 117 Filed 01/07/15 Page 2 of 2



rr,haF ii-<   ir-rJ-rmenl- rFq-q     nn.n    a .lefective         foundation./'      Gonzalez

v.   Sec'y    for     Dep't   of Corr.,       366 F.3d 1253/ \291--92 (11th Cir.

2004).

       ln     thi-s     case.      rhe     Judgment        .rests     on    a     sound   legaI

principle-the         colfateral         att.ack waive.r.        Accordingly,      PetiL ioner

Arnold's      "Rufe      60 (b)    Motion"         (doc.   no.    113)     is   DENIED.     His

morion co oroceed in forma Dauperis                        ( d o c . n o . 114 ) is DENIED AS

MOOT.

       O R D E RE N T E R E Da L A u g u s t a ,    Georgia,        this                     of

January,2015.




                                                                  DISTRICT
